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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

UNITED STATES OF AMERICA

 v.                                             Case No. 8:24-cr-00068-KKM-TGW

TIMOTHY BURKE

     UNITED STATES’ OPPOSITION TO BURKE’S MOTION TO SUPPRESS

       The United States opposes Burke’s motion, Doc. 65, that requests this Court

suppress the evidence seized pursuant to a warrant executed at Burke’s residence

and, relatedly, order a Franks hearing. As explained below, Burke’s motion is

founded upon baseless allegations of material misrepresentations and claimed

omissions that are either flatly untrue, turn out not to be misrepresented or omitted

from the affidavit, or are irrelevant to a probable-cause finding. Moreover, even if

Burke’s allegations were correct, which they are not, suppression would not be a

permissible remedy. Burke’s motion also fails to show any Franks violations, much

less the required “substantial preliminary showing” to justify his request for a

hearing, making that request wholly deficient. The motion should be denied.

I.     Introduction

       In May 2023, a federal magistrate judge, upon consideration of a supporting

affidavit, Ex. 1, found probable cause and issued a warrant to search Burke’s

residence for records and evidence relating to violations of 18 U.S.C. §§ 1030 (the

Computer Fraud and Abuse Act (“CFAA”)) and 2511 (the Wiretap Act). FBI agents
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executed that warrant at Burke’s residence on May 8, 2023. In the secondary suite

behind the primary residence, the agents located a workspace that contained more

than an estimated 100 items that qualified as either a computer or storage medium,

as described in Attachment B to the warrant. The search team left with only

approximately two dozen electronic devices and a few hard copy items, listed in

the return filed with the Court. See Case No. 8:23-mc-00014-WFJ-SPF, Doc. 18-1

at 28-29. One of the items initially seized was a computer apparently being utilized

by Burke’s spouse, a Tampa City councilperson. As with all electronic items seized,

a forensic image was made of that computer. However, that computer was returned,

through counsel, to Burke’s spouse, and the forensic image was removed from

government systems prior to undergoing any search.

        Preceding the search of the residence, procedures/protocols were developed

regarding how the searching agents were to handle any material encountered

potentially categorized as: (1) attorney-client communications or attorney work-

product; (2) political work-related material; and/or (3) “work product materials”

or “documentary materials,” as defined under the Privacy Protection Act (“PPA”).

See 42 U.S.C. § 2000aa, et seq. A member of the search team was designated to act

as a filter-team agent if such materials were encountered, and an AUSA not part of

the investigative team was identified to coordinate with that agent if needed.

        As noted in the United States’ initial discovery letter,1 the United States


1
 Said letter explained that the use of the filer review process resulted in the investigative team having
access to only a subset of the total amount of material that would be made available to the defense.
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employed a filter review process for, among other material, the items seized from

Burke’s residence that fell within the date parameters established by the warrant to

appropriately safeguard potentially privileged/protected material and shield same

from the investigative team. That filter process was in addition to precautionary

measures taken prior to executing the warrant. Following that date-restricted review,

the United States returned to Burke any electronic items that fell outside the

parameters of the warrant or had no evidentiary value and eliminated any images of

those items from government systems. The United States also returned the seized

hard copy items without making and retaining any copies. Finally, the United States

produced to Burke copies of the folders/files contained on the remaining items,

except those identified as contraband or fruits of the crime.

II.   Applicable Law When Considering a Motion to Suppress

      The Fourth Amendment provides that “no Warrants shall issue, but upon

probable cause, supported by Oath or affirmation, and particularly describing the

place to be searched, and the persons or things to be seized.” U.S. Const. Amend IV.

“[P]robable cause exists ‘if facts within the magistrate’s knowledge and of which he

had reasonably trustworthy information would warrant a man of reasonable caution

in the belief that a crime was committed and that evidence is at the place to be

searched.’” United States v. Betancourt, 734 F.2d 750, 754 (11th Cir. 1984) (quoting

United States v. Strauss, 678 F.2d 886, 892 (11th Cir. 1982)).

      “The issuing magistrate is to make a ‘practical, common-sense decision’ about

whether the ‘totality of the circumstances’ indicate that there is probable cause that
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the sought-for evidence will be obtained.” United States v. Nixon, 918 F.2d 895, 900

(11th Cir. 1990) (quoting Illinois v. Gates, 462 U.S. 213, 238-39 (1983)). “[P]robable

cause is a fluid concept—turning on the assessment of probabilities in particular

factual contexts—not readily, or even usefully reduced to a neat set of legal rules.”

Gates, 462 U.S. at 232. The affidavit only needs to show that the degree of suspicion

attached to particular conduct is sufficient to support a finding of probable cause; it

need not determine whether particular conduct is “guilty.” United States v. Mathis,

767 F.3d 1264, 1276 (11th Cir. 2014). “The critical element in a reasonable search is

not that the owner of the property is suspected of crime but that there is reasonable

cause to believe that the specific ‘things’ to be searched for and seized are located on

the property to which entry is sought.” Zurcher v. Stanford Daily, 436 U.S. 547, 556

(1978); see also Haire v. Thomas, 219 F. App’x 844, 846 (11th Cir. 2006) (“To issue the

warrant the magistrate judge had to determine only that there was a ‘fair probability’

that [a person] has evidence in his home relating to the underlying fraud. The

evidence did not necessarily have to implicate [that person] in the crime.”).

      Reasonable inferences of the affiant can be used by the magistrate judge as one

part of his overall determination of probable cause so long as he is not following the

“mere hunch” of another. See Massachusetts v. Upton, 466 U.S. 727, 734 (1984). Law

enforcement officers routinely include in affidavits opinions and conclusions drawn

from their experience and training, and a magistrate judge may properly make use of

that information in the probable-cause determination. See United States v. Robinson, 62

F.3d 1325, 1331 n.9 (11th Cir. 1995).
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      “Courts reviewing the legitimacy of search warrants should not interpret

supporting affidavits in a hypertechnical manner; rather, a realistic and

commonsense approach should be employed so as to encourage recourse to the

warrant process and to promote the high level of deference traditionally given to

magistrates in their probable cause determinations.” United States v. Miller, 24 F.3d

1357, 1361 (11th Cir. 1994). “And the duty of the reviewing court is simply to ensure

that the magistrate had a substantial basis for . . . concluding that probable cause

existed.” Gates, 462 U.S. at 238-239 (quoting Jones v. United States, 362 U.S. 257, 271

(1960)). “A magistrate’s decision that probable cause exists is conclusive absent

arbitrariness.” Betancourt, 734 F.2d at 754. “[A]fter-the-fact scrutiny by courts of the

sufficiency of an affidavit should not take the form of de novo review. A magistrate’s

determination of probable cause should be paid great deference by reviewing courts.”

Gates, 462 U.S. at 236 (quotation marks omitted).

      A warrant “need only describe the place to be searched with sufficient

particularity to direct the searcher, to confine his examination to the place described,

and to advise those being searched of his authority.” United States v. Weinstein, 762

F.2d 1522, 1532 (11th Cir. 1985) (quotation marks omitted). And a warrant describes

things to be seized with sufficient particularity “when it enables the searcher to

reasonably ascertain and identify the things authorized to be seized.” Betancourt, 734

F.2d at 754-55. Neither “elaborate specificity” nor “technical perfection” is

necessary. United States v. Bradley, 644 F.3d 1213, 1259 (11th Cir. 2011). “It is

universally recognized that the particularity requirement must be applied with a
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practical margin of flexibility, depending on the type of property to be seized” and

the nature of the investigation. United States v. Wuagneux, 683 F.2d 1343, 1348-49

(11th Cir. 1982). “Cloud or data-based warrants with a sufficiently tailored time-

based limitation can undermine any claim that they are the internet-era version of a

general warrant.” United States v. McCall, 84 F.4th 1317, 1328 (11th Cir. 2023)

(quoting United States v. Blake, 868 F.3d 960, 974 (11th Cir. 2017)). Insufficient

particularity in a warrant can lead to suppression only when the warrant is “so

facially deficient,” that “the executing officers cannot reasonably presume it to be

valid.” United States v. Leon, 468 U.S. 897, 923 (1984); see Blake, 868 F.3d at 974-75

(warrant lacked particularity but good-faith exception foreclosed suppression).

      When a defendant seeks suppression based on a claim that the warrant

affidavit failed to establish probable cause, suppression is warranted only if the

“warrant is based on an affidavit so lacking in indicia of probable cause as to render

official belief in its existence entirely unreasonable.” McCall, 84 F.4th at 1325

(quotation marks omitted). “To exclude evidence on this ground, the affidavit must

be so clearly insufficient that it provided no hint as to why police believed they

would find incriminating evidence.” Id. (quotation marks omitted). The “officer’s

judgment must be more than just mistaken—it must be so plainly incompetent that

no officer of reasonable competence would have requested the warrant.” Id.

(quotation marks omitted). The “good-faith inquiry is confined to the objectively

ascertainable question whether a reasonably well trained officer would have known


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that the search was illegal in light of all of the circumstances,” not the “subjective

intent” of the searcher. Herring v. United States, 555 U.S. 135, 145-46 (2009).

III.   The Probable Cause Affidavit

       The application for the warrant was accompanied by a detailed affidavit from

an experienced FBI special agent. Ex. 1 ¶ 1. The affidavit identified Burke’s residence

as the “Target Location,” and listed the “Target Offenses” under investigation as 18

U.S.C. §§ 1030 (CFAA) and 2511 (the Wiretap Act). Id. at ¶¶ 2-3. The affidavit then

provided the below facts and conclusions. Id. at ¶ 4.

       The investigation was referred to the FBI by “Law Firm #1,” representing a

broadcast network, identified as “NetworkCo,” to report an unlawful intrusion

incident, which had occurred on October 6, 2022. Id. at ¶ 22. The affidavit specified

that the identities of victims and others had been anonymized to protect their privacy

and the investigation. Id. at n.1. The anonymizations were supplemented with ample

details,2 permitting the magistrate judge to appreciate the contents of the affidavit in

making the probable-cause determination. Thus, the identifier “Host” was described

as a “program host” for a broadcast network’s news arm, “NetworkCo News,” who

had interviewed a “Celebrity” on October 6, 2022, in Los Angeles. Id. at ¶¶ 22-23.

       As that October 6 interview was being recorded, it was being transmitted using

encrypted and proprietary software over the Internet to NetworkCo servers in New



2
 The additional detailed information provided for context included, among other information, event
dates, email address, IP addresses, Twitter address, phone numbers, identity of primary actor
(Burke), detailed description of conduct involved, positions held by interview subjects.
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York City by “StreamCo,” a company hired to provide live video technology

services. Id. NetworkCo News broadcast portions of that interview during programs

airing on October 6 and 7, 2022. Id. On October 11, a different media company’s

website, “WebPub,” published online six links to excerpts from that interview,

together with the article, “Watch the Disturbing [Celebrity] Interview Clips That

[NetworkCo News Host] Didn’t Put on Air.” Id. at ¶ 24. Those six excerpts had not

been publicly released, nor authorized for release, by NetworkCo News. Id.

      NetworkCo News hired “DFCo,” a digital forensics firm, to investigate the

incident. Id. at ¶ 25. DFCo determined that StreamCo network user credentials

designated to StreamCo customer Network #2 were exposed on a Network #2-

affiliated radio station website as early as 2022. Id. at ¶ 26. DFCo also determined

the below.

        IP address 47.197. 207.14 (“the IP address”) was logged into the StreamCo
network using the exposed Network #2 credentials without authorization
contemporaneously with the October 6 interview for its duration. Id. at ¶ 27. That IP
address was first observed on StreamCo network logs on August 22, 2022, and repeatedly
thereafter until at least October 14, 2022. Id. The IP address resolved to Burke’s Tampa
residence, and was hosting four web domains, including burke-
communications.com, ilovecitr.us, and mocksessions.com. Id. at ¶ 28.

        Burke was a former Director of Video Editing for a popular news website
and had previously worked for at least two other media outlets as an investigative
journalist. Though not presently working in the media as a news journalist, Burke
maintained a presence by collecting video clips and information and disseminating
them via the Internet. Burke owned and operated Burke Communications, advertised
on its website as a media consultation company. Id. at ¶ 29.




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      Subsequent FBI investigation confirmed that the DFCo information was

accurate. Id. at ¶ 31. A February 2023 review of the burke-communications.com

website revealed links to related pages that touted an archive of news and sports

programming, dating to 1969, that consumed more than 50 TB of cloud space, and

that Burke retained “181,000 gigabytes of video archive data.” Id. at ¶ 32. Review of

the website ilovecitr.us revealed Burke had expertise regarding monitoring and

archiving video feeds, and was familiar with Python script. Id. at ¶ 33.

      Per StreamCo Chief Technical Officer (“CTO”), StreamCo customers

included major media companies that used the StreamCo nonpublic network to

stream content. Id. at 34. A StreamCo customer would send streamed content from

an origin point, a transmission unit, to a receiver unit at a different location. Id. The

October 6 interview stream was transmitted from California to a receiver unit located

at NetworkCo headquarters in New York City. Id. StreamCo used a Python script to

generate an identifier that is unique to each receiver used within its network. The

identifiers were composed of digits used within the StreamCo network to access and

identify streamed content. Id. Said content was streamed encrypted across the

StreamCo network via HLS streams; however, the livestreams were decrypted at one

stage in low resolution making them viewable for quality management purposes. Id.

      Due to an error in the StreamCo website application interface, it would have

been possible for an individual who had authenticated (logged) into its website to

utilize developer tools embedded in a web browser to access a complete list of the

StreamCo receiver identifiers associated with particular customers, allowing that
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 individual to target and monitor streaming content for those customers. Id. at ¶ 35.

 And, if an individual knew a StreamCo receiver identifier and the format of the

 StreamCo HLS stream query (both exposed within the password-protected website),

 that individual could construct a URL to directly access a StreamCo device and

 monitor a stream without having to authenticate into the StreamCo network. Id. The

 StreamCo CTO confirmed Timothy Burke had not worked at StreamCo, nor was he

 authorized to access the StreamCo network or any content therein. Id. at ¶ 36.

       The NetworkCo CTO confirmed that the leaked October 6 interview content

 had not been leaked by a NetworkCo employee. Id. at ¶ 38. Futher, two unidentified

 IP addresses had accessed the interview stream, one for about 30 minutes and

 another, IP address 47.197.207.14, which had been logged on during all six of the

 intercepted and disclosed excerpts. Id. at ¶¶ 38. IP address 47.197.207.14 resolved to

 a carrier maintaining an account on October 6 at Burke’s residence. Id. at ¶ 52. The

 NetworkCo CTO confirmed Timothy Burke had never been employed by

 NetworkCo and did not have permission to access/release the excerpts. Id. at ¶ 39.

       The Network #2 broadcast engineer maintenance supervisor (“BEMS”)

 explained that the exposed credential was used by Network #2 to demonstrate and

 sell access to the StreamCo services to Network #2 affiliates. Said credentials were

 only authorized to be used by the Network #2 sales team. The Network #2 BEMS

 confirmed that Timothy Burke had never worked for Network #2, nor did he have

 authorization to use the credentials to access the StreamCo Network. Id. at ¶¶ 40-41.


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       Burke’s Twitter account @bxxxxxxog was linked to the website burke-

 communication.com, had been logged into during January 2023 from IP address

 47.197.207.14, and was associated with email address t[redacted]ke@gmail.com. Id.

 at ¶ 43. The phone number associated with that account was a number associated

 with Burke. Id. Burke’s Tweets via @bxxxxxxog demonstrated knowledge

 concerning streaming technology, posted about StreamCo streams, and expressed

 familiarity with NetworkCo’s streaming methods. Id. at ¶ 47.

       Burke, Person #4, and Person #5 were employed during 2018 by a website

 company, and they continued to associate with one another following their

 overlapping time there. Id. at ¶¶ 45-46. On October 11, at 3:16 p.m. EDT, Person #4,

 a WebPub reporter, tweeted a link to the above-mentioned article, which was the

 first appearance of the unaired interview excerpts in the media. Id. at ¶ 44. The

 Tweet contained a comment and a photo extracted from one of the unauthorized

 interview excerpts. Approximately 5 minutes later, @bxxxxxxog tweeted the same

 photo from the interview with a different comment. Id. Approximately thirty seconds

 following Burke’s Tweet, Person #4 retweeted Burke’s Tweet. On the same day

 approximately 15 minutes after Person #4’s retweet, a second WebPub representative,

 Person #5, tweeted the same photo with different commentary. Id. Records for the

 telephone number listed on Burke’s burke-communications.com website showed

 that, from October 10 through November 29, Burke exchanged calls on at least ten

 occasions with Person #5, a WebPub employee. Id. at ¶¶ 49-50.


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        Given Burke’s assertions on his website that he retained 181,000 GB of

 archived video, with 50,000 GB stored on the cloud, investigators determined it was

 likely that any remaining video was stored at Burke’s residence. Id. at ¶ 54. The

 conclusion was drawn from various facts/evidence including photographs posted by

 Burke to social media and statements made on his websites. Id. Some of the

 photographs showed multiple computers and monitors clustered as an electronic

 center. Id. It also was likely that scripts and devices used to monitor and intercept the

 interview video streams were stored there. Id. The FBI confirmed that a secondary

 suite behind the main residence appeared suitable to house the necessary electronic

 equipment. Id. at ¶ 55. The affidavit also included an additional section that

 articulated facts related to the computer devices believed to be housed at Burke’s

 residence and the need and reasons supporting seizure and analysis of those devices.

 Id. at ¶¶ 57-63.

        The affidavit did not include Burke’s spouse’s name or status as a Tampa City

 councilperson because she was not a subject of the investigation and doing so would

 have unnecessarily linked her directly to the investigation: an Internet query would

 have thereafter potentially subjected her to unfair political attacks or allegations.

 Indeed, had information about her been included in the affidavit, the investigative

 team would have inevitably faced allegations of unfairly impugning a political actor.

 The United States is only including this explanation in response to Burke’s motion.

 Burke’s non-subject spouse’s work was irrelevant to a probable-cause finding.


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 IV.    Probable Cause

        i. Probable Cause was Established for the Listed Offenses.

        “Probable cause exists if facts within the magistrate’s knowledge and of which he

 had reasonably trustworthy information would warrant a man of reasonable caution in

 the belief that a crime was committed and that evidence is at the place to be searched.”

 Betancourt, 734 F.2d at 754 (quotation omitted). The issuing magistrate need only make a

 common-sense decision about whether the totality of the circumstances show there is

 probable cause that the sought-for evidence will be obtained. Nixon, 918 F.2d at 900. “A

 magistrate’s decision that probable cause exists is conclusive absent arbitrariness.”

 Betancourt, 734 F.2d at 754. After-the-fact scrutiny of the sufficiency of an affidavit should

 not take the form of de novo review, and a magistrate’s probable-cause finding should be

 paid great deference by reviewing courts. Gates, 462 U.S. at 236.

        The submitted affidavit amply established probable cause that evidence, fruits, and

 instrumentalities of violations of 18 U.S.C. §§ 1030 and 2511, would be found at Burke’s

 residence. Indeed, the affidavit showed that Burke first entered the StreamCo website

 without authorization on August 22, 2022, using Network #2 credentials despite not

 being authorized by StreamCo or Network #2 to do so. He then continued to repeatedly

 authenticate into that website where he obtained and stole StreamCo system-related info,

 which he then utilized to intercept the transmission of StreamCo customers, at least one

 of which streams he disclosed to individuals at WebPub. The affidavit also included

 details regarding Burke’s demonstrated technical capabilities, his elaborate computer

 system, and that system’s electronic storage capacities. The affidavit further articulated
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 probable cause as to how and why evidence and fruits of the criminal conduct were likely

 to be contained on that system and the significance of that evidence to the investigators.

        ii. Good Faith Forecloses Suppression.

        Even if the warrant fell short in establishing probable cause, which it did not,

 the good-faith exception to the exclusionary rule would foreclose suppression of the

 evidence obtained through execution of the warrant. When a defendant seeks

 suppression based on a claim that the affidavit failed to establish probable cause,

 suppression is warranted only if the “warrant is based on an affidavit so lacking in

 indicia of probable cause as to render official belief in its existence entirely

 unreasonable.” McCall, 84 F.4th at 1325 (quotation marks omitted). “To exclude

 evidence on this ground, the affidavit must be so clearly insufficient that it provided

 no hint as to why police believed they would find incriminating evidence.” Id.

 (quotation marks omitted). The “officer’s judgment must be more than just

 mistaken—it must be so plainly incompetent that no officer of reasonable

 competence would have requested the warrant.” Id. Those circumstances are not

 remotely present here.

 V.     Argument

        Burke’s motion includes baseless allegations of material misrepresentations

 and claimed omissions that are either flatly untrue, turn out not to be misrepresented

 or omitted from the affidavit, or are irrelevant to a probable-cause finding. The

 motion argues without support that the search was an unreasonable intrusion in the

 protected activities of a “journalist” engaged in gathering and disseminating
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 newsworthy information, was overbroad and based upon a general warrant, and was

 not executed reasonably under the circumstances presented. Doc. 65 at 1-2. Burke is

 wrong as to each contention. Indeed, even if the allegations were correct, which they

 are not, suppression would not be a permissible remedy. For clarity, the United

 States fully addresses each issue raised in Burke’s motion by subject.

           i. The Absence of Information About the Department’s Internal
              Administration of its Policies Does Not Render the Affidavit Deficient.

           Burke’s motion includes multiple baseless suggestions of wrongdoing by the

 United States’ investigative team regarding the Department of Justice’s (the

 “Department’s”) Policy Regarding Obtaining Information from or Records of Members of

 the News Media; and Regarding Questioning, Arresting, or Charging Members of the News

 Media (the “News Media Policy”),3 and the policy requiring authorization for search

 warrants that may implicate the Privacy Protection Act (PPA). Here, the

 government has complied with its own News Media Policy and PPA policy.

           The News Media Policy. The Department has promulgated internal

 regulations relating to obtaining information from or records of members of the

 news media and questioning, arresting, or charging members of the news media.4

 These regulations impose some internal limitations on investigative techniques that



 3
     28 CFR 50.10(i)(1) (revised, November 3, 2022).
 4
  The Attorney General issued revised News Media Policy regulations on October 26, 2022. The
 specific changes to the regulations are not relevant here because neither version creates any
 enforceable rights for any defendant or members of the news media. Unless otherwise noted,
 citations to the regulations refer to the current version of the rule.


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 may be used to obtain information from or records of members of the news media

 and set forth internal Department approval requirements before law enforcement

 may employ various investigative techniques in relation to members of the news

 media.

        Even if government investigators had not complied with its policies, which

 was not the case, those policies do not create any substantive or procedural right or

 benefit, much less a right enforceable through Burke’s motion. The News Media

 Policy is explicit that it “is not intended to, and does not, create any right or benefit,

 substantive or procedural, enforceable at law or equity by any party against the United

 States, its departments, agencies, or entities, its officers, employees, or agents, or

 any other person.”5 28 C.F.R. § 50.10(t) (emphasis added). Moreover, the policy is

 clear from its opening paragraph that it “is not intended to shield from

 accountability members of the news media who are subjects or targets of a criminal

 investigation for conduct outside the scope of newsgathering.” 28 C.F.R. §

 50.10(a)(1). The policy specifically defines “newsgathering” to exclude from its

 scope criminal acts committed in the course of obtaining or using information,

 such as unlawfully accessing a computer or a computer system, and unlawful

 surveillance or wiretapping. 28 C.F.R. § 50.10(b)(2)(ii)(B). Burke’s motion cites no



 5
  The Fourth Circuit has explained that the Department’s news media policy “is of the kind to be
 enforced internally by a governmental department, and not by courts through exclusion of
 evidence.” In re Shain, 978 F.2d 850, 854 (4th Cir. 1992). Regardless, any internal administrative
 disciplinary action (not warranted here) is not available as a remedy for a subject seeking to upend
 an ongoing federal criminal investigation.


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 law, statutory or otherwise, that required the affidavit to include information about

 internal Department deliberative matters, such as a request for and approval of

 authorization to seek a search warrant. There is none, and the absence in the

 affidavit about that internal matter is of no consequence.6

         The PPA. Relatedly, Burke’s motion argues the evidence must be suppressed

 because the affidavit failed to include confirmation that the investigators had secured

 the required approval for the search, in accordance with the Department’s policy

 regarding the PPA, and concealed from the magistrate judge that the proposed

 search was presumptively unlawful under the PPA. Doc. 65 at 10. Both of Burke’s

 assertions regarding the PPA are baseless. First, as explained above, there is no basis

 for the proposition that the submitted affidavit should have included information

 regarding compliance with the Department’s PPA policy. Second, the PPA is

 explicitly inapplicable to a determination of Burke’s motion. Whereas the PPA

 authorizes a civil action to be brought by a person aggrieved by a search for or

 seizure of materials in violation of the provision, it specifically directs that

 “[e]vidence otherwise admissible in a proceeding shall not be excluded on the basis

 of a violation of this chapter.” 42 U.S.C. § 2000aa-6(a)&(e).7 This is a red herring.


 6
  See, e.g., In re Grand Jury Subpoena, Judith Miller, 438 F.3d 1141, 1153 (D.C. Cir. 2006)
 (Department’s news media guidelines were “not required by any constitutional or statutory
 provision” and “provide no enforceable rights to any individuals”); In re Special Proceedings, 373
 F.3d 37, 44 n. 3 (1st Cir. 2004) (news media guidelines do not create legally enforceable rights).
 7
   Moreover, the PPA would not have served to protect Burke’s possession of the information and
 items authorized for seizure under the warrant for another dispositive reason. The PPA by its terms
 does not apply to contraband, fruits, or things criminally possessed. 42 U.S.C. § 2000aa-7(a)&(b).


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       ii. The Affidavit Contained Sufficient and Accurate Information About
           Burke and His Home Workspace, and the Resulting Search was Not an
           Intrusion of Protected First Amendment Activities.

       Burke’s motion erroneously argues that the affidavit was deficient because it

 did not describe Burke as an award-winning journalist operating a newsroom and

 resulted in an intrusion of protected First Amendment activities. Id. at 3, 8-11, 17,

 and 19. Burke’s unsupported claims regarding his work are inconsistent with how

 Burke himself described that work during the period covered by the warrant. Burke’s

 resume, published by him in May 2023 on his ilovecitr.us website, reflects that Burke

 had previously worked for the Gizmodo Media Group and The Daily Beast from

 2011 through 2019. Doc. 52-1. Thereafter, Burke had publicly categorized himself as a

 consultant, describing his work on his burke-communications.com website as

 concerning “Social/Political/Media Consulting,” and stating on his ilovecitr.us

 website that he was a “media + political communications consultant, broadcast

 monitor, archival technologist, and viral content visionary.” Id. That information,

 published by Burke, was accurately captured in the affidavit. Ex.1 at ¶¶ 28-29.

       Burke’s present claim that he was instead working as a journalist is a red

 herring. Regardless of how Burke now categorizes his work (“journalist” or

 “consultant”), neither the First Amendment nor any other authority granted Burke

 immunity from investigation and prosecution if he obtained information through his

 own criminal acts, in violation of 18 U.S.C. §§ 1030 and 2511. Indeed, even

 “presumptively protected materials are not necessarily immune from seizure under


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 warrant for use at a criminal trial.” Zurcher, 436 U.S. at 567. As explained in Zurcher,

 “[t]he hazards of such warrants can be avoided by a neutral magistrate carrying out

 his responsibilities under the Fourth Amendment, for he has ample tools at his

 disposal to confine warrants to search within reasonable limits.” Id. And, as

 recognized by the Supreme Court, it would be “frivolous” to assert—much less

 hold—that a reporter or his sources would have a “license . . . to violate valid

 criminal laws.” Branzburg v. Hayes, 408 U.S. 665, 691 (1972).

       The ample facts contained within the affidavit presented probable cause that

 Burke had committed criminal acts, in violation of 18 U.S.C. §§ 1030 and 2511, and

 that evidence of those crimes likely existed at his residence. The search of his

 residence for evidence of his crimes was entirely reasonable. Further, the absence in

 the affidavit of Burke’s unsupported claims regarding his work status (contradicted

 by his own published information) does not amount to a material omission.

       iii. The Affidavit Did Not Misrepresent or Omit Material Facts or Law
            Regarding the CFAA or the Wiretap Act.

       Burke’s motion erroneously argues that the affidavit omitted critical facts and

 deceived the magistrate judge regarding alleged CFAA violations of 18 U.S.C.

 § 1030(a)(2)(C). Doc. 65 at 8-9. The motion claims the magistrate judge should have

 been informed that “downloading information without authorization” is not a crime

 under United States v. Van Buren, 940 F.3d 1192 (11th Cir. 2019), rev’d and

 remanded, Van Buren v. United States, 593 U.S. 374 (2021). Section 1030(a)(2)(C) is

 drafted in the disjunctive and can be violated in two different ways. The Supreme

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 Court in Van Buren addressed only the second prong of § 1030(a)(2), that being where

 a person “accesses a computer with authorization but then obtains information

 located in particular areas of the computer . . . that are off limits to him.” Id. at 1662.

 Van Buren, however, had no impact on the first prong of § 1030(a)(2) and Burke’s

 conduct as described in the affidavit violates that prong.

           Next, Burke’s motion similarly presents partial information about the elements

 of a violation of § 2511 under the Wiretap Act to erroneously argue that the affidavit

 “actively deceived” the magistrate by omitting information about the conduct

 required to prove such a violation. Doc. 65 at 7-8. Like the above-discussed CFAA

 violation, § 2511(1)(a) is also drafted in the disjunctive and can be violated by

 intentionally intercepting any “wire, oral, or electronic communication.” Thus, it is

 irrelevant to a determination of probable cause whether the individuals participating

 in the October 6 interview were in the same location because, per the affidavit, the

 interview was intercepted by Burke in real time as it was being transmitted over the

 Internet from California to New York City, and later disclosed. Ex. 1 at ¶¶ 22-23 and

 34-35. Under the Wiretap Act, that intercepted audio/video transmission contained

 both wire (human voice) and electronic communications (images and other

 electronic information) and amounted to a violation of § 2511(1)(a).8

           The affidavit actively and fully informed the Court of the circumstances that

 led to Burke monitoring and intercepting the StreamCo URL streams, including how


 8
     See 18 U.S.C. § 2510(1) & (18) & (12), respectively, defining types of communications.


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 the StreamCo video-feed URLs were constructed, how Burke likely obtained and

 stole the information necessary for him to construct them, and the inconceivable

 prospect that Burke could simply have guessed the URLs instead. Ex. 1 at ¶ 34-35.

 Burke’s present defense theory that the intercepted stream was “readily accessible to

 the public” and so not covered under the Wiretap Act is a possible defense to be

 raised at trial, should Burke elect to do so.9 Of course, that defense ignores that Burke

 was only able to access that intercepted stream by utilizing information he obtained

 and stole from the StreamCo password-protected website after he gained

 unauthorized access using Network #2 credentials. The known existing facts that

 established probable cause to believe that Burke had committed a violation of § 2511

 were properly included in the affidavit. That is sufficient. The affidavit did not

 include any known incorrect or misleading facts or information or omit any of the

 same regarding the application of § 2511.

         Finally, Burke’s motion also wrongly claims that the magistrate judge should

 have been told that Burke’s disclosure of intercepted communications was a

 publication of truthful newsworthy information and so protected speech under

 Bartnicki v. Vopper, 121 S.Ct. 1753 (2001). Doc. 65 at 8-9. Bartnicki clarified whether:

 “the publisher of information [who] has obtained [it] in a manner lawful in itself but

 from a source who has obtained it unlawfully, may the government punish


 9
  The exceptions for criminal liability under 18 U.S.C. § 2511(1)(a) and (c) listed in 18 U.S.C.
 § 2511(2)(g)(i)-(v), including the exception for intercepting an electronic communication that is
 “readily accessible to the general public,” are affirmative defenses. See, e.g. United States v. McArthur,
 108 F.3d 1350, 1353 (11th Cir. 1997).
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 [subsequent] publication of that information based on the defect in a chain?” Id. at

 1762. Here, the affidavit articulated facts that established probable cause that Burke

 himself, not some other source, had violated § 2511 when he intercepted the October 6

 interview stream in real time and later disclosed it to another. Bartnicki is inapplicable

 here. The affidavit did not misrepresent or omit material facts or law regarding the

 CFAA or the Wiretap Act as claimed by Burke.

       iv. Anonymizations Did Not Undermine the Probable Cause
           Determination.

       Burke’s motion also argues, without support, that the use in the affidavit of

 anonymizations to identify individuals and entities cannot result in a finding of

 probable cause because the anonymized individuals and entities do not exist. e.g.,

 Doc. 65 at 5-6. That is nonsensical. That anonymized identifiers were utilized in the

 affidavit was specifically noted in the affidavit itself and were supplemented with

 additional descriptive information that provided the magistrate judge ample context

 in which to review and consider the probable cause determination. Indeed, it is rarely

 the case that a reviewing magistrate judge knows all the individuals and entities

 identified within an affidavit under consideration. Notwithstanding, reviewing

 magistrates can appreciate the conduct and roles of the included participants and

 make probable cause determinations. That argument should be summarily rejected.

       v. The Warrant was Not a General Warrant and Was Executed
          Reasonably.

       Burke’s motion also erroneously argues that the warrant was a prohibited


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 “general warrant” lacking any guidance for the seizing agents, which resulted in an

 overly broad rummaging through Burke’s materials. Doc. 65 at 14-15. That

 conclusory argument ignores the warrant’s contents and the guidance in Weinstein,

 762 F.2d at 1532, that a warrant “need only describe the place to be searched with

 sufficient particularity to direct the searcher, to confine his examination to the place

 described, and to advise those being searched of his authority.” See also Betancourt,

 734 F.2d at 754-55; and see Bradley, 644 F.3d at 1259 (neither “elaborate specificity”

 nor “technical perfection” required); Wuagneux, 683 F.2d at 1348-49 (“. . .

 particularity requirement must be applied with a practical margin of flexibility,

 depending on the type of property to be seized” and nature of investigation).

       Here, the warrant described the items to be seized as records and evidence that

 reflected violations of 18 U.S.C. §§ 1030 (intentional unauthorized access of a

 computer), and 2511 (intentional interception and disclosure of wire, oral, or

 electronic communication), that involved one subject, Timothy Burke, and that

 occurred between August 1, 2022, and May 8, 2023. The warrant further specified

 six categories of potential evidence and, for computers and other storage devices,

 provided additional guidance, all of which was supported by the affidavit. This

 description provided ample direction to searchers and readily satisfied the Fourth

 Amendment’s particularity requirements. See McCall, 84 F.4th at 1327. “A warrant

 does not have to be elaborate. Rather it need only be as narrow as reasonably

 expected given the state of the investigator’s knowledge and the nature and extent of

 criminal activities under investigation.” Id. (citations and quotation omitted). Federal
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 courts have recognized that a warrant authorizing seizure of computers for a

 subsequent off-site electronic search is not unreasonable or overbroad, provided

 probable cause supports a “sufficient chance of finding some needles in that

 computer haystack.” United States v. Evers, 669 F.3d 645, 652 (6th Cir. 2012) (citation

 omitted).

       Even assuming the description fell short, which it did not, the good faith

 exception to the exclusionary rule forecloses suppression. Insufficient particularity in

 a warrant can lead to suppression only when the warrant is “so facially deficient,”

 i.e., so lacking in particularity, that “the executing officers cannot reasonably

 presume it to be valid.” Leon, 468 U.S. at 923; see Blake, 868 F.3d at 975. Nothing

 like that happened here. Regardless of Burke’s criticisms, it was “objectively

 reasonable” for agents to rely on the warrant. United States v. Travers, 233 F.3d 1327,

 1329 (11th Cir. 2000) (quotation marks omitted). The affidavit here is certainly “not

 so facially deficient . . . that the executing [agents] could not have reasonably

 presumed it to be valid.” Id. at 1330 (quotation marks omitted).

       Burke’s motion cites as support a collection of unanalogous cases, including

 three cases concerning search warrants that authorized the seizure of books and

 materials based upon their perceived offending contents. Doc. 65 at 6 n.4. The

 motion also cites to two easily distinguished cases: United States v. Stefonek, 179 F.3d

 1030, 1032-1034 (7th Cir. 1999) and United States v. Srivastava, 476 F.Supp.2nd 509

 (D.Md. 2007). Stefonek concerned a warrant that was two open-ended, only

 describing the things to be seized as “evidence of crime.” Srivastava was a district
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 case from another circuit in which the Court found the agents blatantly exceeded the

 scope of the warrant. Neither Stefonek nor Srivastava is applicable here.

             Burke also wrongly argues that the scope of the warrant and subsequent

 execution of the search was unreasonable and without the (purported) level of

 “scrupulous exactitude.” Doc. 65 at 1, 6, 10, 12-18. Burke again supports that

 argument with erroneous conclusions of law and unsupported facts regarding the

 manner of the warrant’s execution and seizures, ignoring the warrant language and

 the investigative team’s good-faith conduct—including the use of a filter review

 process. Burke’s motion insists that the agents seized materials constituting

 “everything Mr. Burke ever downloaded, viewed, or accessed,” Doc. 65 at 15,

 amounting to “the sum of an individual’s private life.” Id. at 17. But it is inarguable

 the seizing agents left behind a stockpile of electronic devices, and the United States

 filed periodic reports tracking the systematic return of seized property with the Court

 that issued the warrant.10 And Burke offers no specific examples to substantiate his

 argument, much less demonstrate the “flagrant disregard” of the terms of the warrant

 required to prevail on such a claim. See Wuagneux, 683 F.2d at 1354. Burke’s motion

 presents no supported facts showing that the investigative team possesses material

 exceeding the warrant’s scope, and even if he did, that alone would be insufficient to

 mandate suppression. “[A]bsent a flagrant disregard of the terms of the warrant, the

 seizure of items outside the scope of a warrant will not affect admissibility of items



 10
      See, e.g., Case No. 8:23-mc-00014-WFJ-SPF, Docs. 37, 37-1, 40, 40-1, 47, 47-1, and 49-1.

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 properly seized.” Id. (quotation marks omitted). The warrant was executed in a

 reasonable manner, and Burke’s motion should be denied.

       vi. Burke’s Request For a Franks Hearing Should be Denied.

       “There is . . . a presumption of validity with respect to the affidavit supporting

 the search warrant,” Franks v. Delaware, 438 U.S. 154, 171 (1978); United States v.

 Lebowitz, 676 F.3d 1000, 1010 (11th Cir. 2012). The Supreme Court has held that this

 presumption of validity can only be challenged in a very limited set of circumstances.

 Franks, 438 U.S. at 171-12. First, a defendant must make an offer of proof beyond

 conclusory assertions that the affiant either “knowingly and intentionally included a

 false statement in an affidavit” or “made the false statement with reckless disregard

 for its truth.” United States v. Sims, 845 F.2d 1564, 1571 (11th Cir. 1988) (citing

 Franks, 438 U.S. at 171-72). Even if a defendant can make a preliminary showing of

 the affiant’s knowing or reckless intent, he must still show that the false statement

 was necessary to the finding of probable cause. Sims, 845 F.2d at 1571 (“Insignificant

 and immaterial misrepresentations or omissions will not invalidate a warrant.”)

 (quotation omitted). In the case of material omissions, the defendant must prove that

 “the alleged omission would have prevented a finding of probable cause.” Lebowitz,

 676 F.3d at 1010.

       A defendant who fails to meet either prong of this analysis is not entitled to a

 hearing under Franks. United States v. Barsoum, 763 F.3d 1321, 1328 (11th Cir. 2014)

 (“Franks requires that a defendant make a substantial preliminary showing that


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 statements or omissions are intentionally false or recklessly misleading, and that

 those statements or omissions altered the probable cause showing.”). Id. at 1329. It is

 not enough to argue a Franks hearing would allow defendant to show the

 information in question was false and deliberately or recklessly included or omitted.

 Id. A defendant must make a preliminary showing that is “more than conclusory and

 must be supported by more than a mere desire to cross-examine.” Id. (quoting

 Franks, 438 U.S. at 171). “Allegations of negligence or innocent mistake are

 insufficient.” Franks, 438 U.S. at 171. And even “if these requirements are met,” a

 hearing is still not warranted “if, when material that is the subject of the alleged

 falsity or reckless disregard is set to one side, there remains sufficient content in the

 warrant affidavit to support a finding of probable cause.” Id. at 171-72.

        In addition to affirmative false statements, Franks may also apply to omissions,

 but only if they are intentionally or recklessly misleading and material to a finding of

 probable cause. “An affiant cannot be expected to include in an affidavit every piece

 of information gathered in the course of an investigation,” United States v. Colkley, 899

 F.2d 297, 300 (4th Cir. 1990), and scrutinizing an affidavit for “omission[s]

 potentially opens officers to endless conjecture about investigative leads, fragments of

 information, or other matter that might, if included, have redounded to defendant’s

 benefit,” United States v. Graham, 275 F.3d 490, 506 (6th Cir. 2001) (quotation marks

 omitted). As such, a defendant must make a substantial preliminary showing that an

 omission was deliberately or recklessly misleading, not “made negligently or because


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 of an innocent mistake.” United States v. Whyte, 928 F.3d 1317, 1333 (11th Cir. 2019).

 And the omission must be material, meaning that “inclusion of the omitted facts

 would have prevented a finding of probable cause.” United States v. Kapordelis, 569

 F.3d 1291, 1309 (11th Cir. 2009) (quotation marks omitted).

       Burke’s motion fails to make a showing of a Franks violation, much less the

 required “substantial preliminary showing” to justify such a hearing, making his

 request wholly deficient. See, e.g., Barsoum, 763 F.3d at 1328-29. Indeed, Burke’s

 motion offers nothing more than misplaced conclusory opinions and arguments to

 assert the affiant knowingly and intentionally included a false statement in the

 affidavit, made a false statement with reckless disregard for the truth, or intentionally

 or recklessly omitted information pertinent to a probable-cause finding. See Id. And it

 is not enough for Burke to insist that a Franks hearing would allow him to show that

 information in question was false or recklessly included or omitted. Id.; and see Sims,

 845 F.2d at 1571. More problematic, the topics proposed for the requested hearing—

 an inquiry into privileged internal government deliberations, determinations, and

 investigative efforts—are divorced from a probable-cause determination. Doc. 65 at

 19-20. That would be an abuse of Franks, and Burke’s request should be denied.

 VI.   Conclusion

       Wherefore, Burke’s motion and request for Franks hearing should be denied.




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                                     Respectfully submitted,

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                            CERTIFICATE OF SERVICE

        I hereby certify that on July 26, 2024, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system which will send a notice of

  electronic filing to counsel for the Defendant.



                                          /s/Jay G. Trezevant
                                          Jay G. Trezevant
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